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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 LA UNION DEL PUEBLO ENTERO, et al                  §
      Plaintiffs,                                   §
                                                    §
 v.                                                 §    Case No.: 1:21-CV-0786-XR,
                                                    §    consolidated with 5:21-CV-0844-XR
 GREGORY W ABBOTT, et al,                           §
     Defendants.                                    §
                                                    §
                                                    §


      ORIGINAL ANSWER OF DEFENDANT ISABEL LONGORIA, IN HER OFFICIAL
         CAPACITY AS THE HARRIS COUNTY ELECTIONS ADMINISTRATOR

Defendant ISABEL LONGORIA, in her official capacity as the Harris County Elections

Administrator (“Defendant” or “Defendant Longoria”) now files her Original Answer to Plaintiffs

LULAC Texas, VOTO Latino, Texas Alliance for Retired Americans, and Texas AFT’s

(“Plaintiffs) Original Complaint (“Complaint”) and would respectfully show this Court as follows.

Each numbered response corresponds with the same numbered paragraph in the Complaint.

        1.       Defendant admits the allegations in this paragraph.

        2.       Defendant admits that Texans encountered unprecedented challenges while

attempting to vote in the midst of a global health crisis and that the Attorney General threatened to

prosecute people for actions related to voting. Defendant lacks knowledge or information sufficient

to form a belief as to the remaining allegations in this paragraph

        3.       Defendant admits the allegations in this paragraph.

        4.       Defendant admits the allegations in this paragraph.

        5.       Defendant admits the allegations in this paragraph.

        6.       Defendant admits the allegations in this paragraph.
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       7.       Defendant admits the allegations in this paragraph.

       8.       Defendant admits the allegations in this paragraph.

       9.       Defendant admits the allegations in this paragraph.

       10.      Defendant admits that the Texas Legislature enacted S.B.1 in a controversial second

special session. Defendant admits that S.B.1 imposes additional restrictions and burdens voters and

voters of color in particular. Defendant also admits that S.B.1 is unconstitutional. Defendant lacks

knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       11.      Defendant admits that S.B. 1 was not enacted to preserve election integrity or

combat election fraud. Defendant admits that the state’s own election officials have acknowledged

that elections in Texas are already secure. Defendant lacks knowledge or information sufficient to

form a belief as to the remaining allegations in this paragraph.

       12.      Defendant admits that S.B. 1 imposes significant barriers to voters of color and

discriminates against voters of color in violation of the First and Fourteenth Amendments of the

United States Constitution and the Voting Rights Act. Defendant admits that Texas has a long

history of discrimination against voters of color. Defendant lacks knowledge or information

sufficient to form a belief as to the remaining allegations in this paragraph.

       13.      Defendant admits that Plaintiffs bring this lawsuit for the reasons listed in this

paragraph.

       14.      Defendant admits the allegations in this paragraph.

       15.      Defendant admits the allegations in this paragraph.

       16.      Defendant admits the allegations in this paragraph.

       17.      Defendant admits the allegations in this paragraph.
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       18.     Defendant admits the allegations in this paragraph.

       19.     Defendant admits the allegations in this paragraph.

       20.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       21.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       22.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       23.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       24.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       25.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       26.     Defendant admits the allegations in the first and second sentences of this

paragraph. Defendant lacks knowledge or information sufficient to form a belief as to the

remaining allegations in this paragraph.

       27.     Defendant admits the first sentence of this paragraph. Defendant lacks knowledge

or information sufficient to form a belief as to the remaining allegations in this paragraph.

       28.     Defendant admits the allegations in this paragraph.

       29.     Defendant admits the allegations in this paragraph.

       30.     Defendant admits the allegations in this paragraph.

       31.     Defendant admits the allegations in this paragraph.
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       32.        Defendant admits the allegations in this paragraph.

       33.        Defendant admits the allegations in this paragraph.

       34.        Defendant admits the allegations in the first sentence of this paragraph. Defendant

lacks knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       35.        Defendant admits the allegations in this paragraph.

       36.        Defendant admits the allegations in this paragraph.

       37.        Defendant admits the allegations in this paragraph.

       38.        Defendant admits the allegations in this paragraph.

       39.        Defendant admits the allegations in this paragraph.

       40.        Defendant admits the allegations in this paragraph.

       41.        Defendant admits the allegations in this paragraph.

       42.        Defendant admits the allegations in this paragraph.

       43.        Defendant admits the allegations in the first and second sentences of this paragraph.

Defendant lacks knowledge or information sufficient to respond to the remaining allegations in

this paragraph.

       44.        Defendant lacks knowledge or information sufficient to respond to the allegations

in this paragraph.

       45.        Defendant admits the allegations in this paragraph.

       46.        Defendant admits the allegations in this paragraph.

       47.        Defendant admits the allegations in this paragraph.

       48.        Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.
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       49.     Defendant admits that Harris County’s efforts to ensure access to the ballot box

during the height of the pandemic were successful. Defendant admits that some polling places in

Harris County stayed open past 7:00 PM for one day. Defendant denies all other allegations in this

paragraph.

       50.     Defendant admits the allegations in this paragraph.

       51.     Defendant admits the allegations in this paragraph.

       52.     Defendant admits the allegations in the first sentence of this paragraph. Defendant

lacks knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       53.     Defendant admits the allegations in this paragraph.

       54.     Defendant admits the allegations in this paragraph.

       55.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       56.     Defendant admits that ballot drop boxes are secure receptables where absentee

ballots can be delivered by voters to an election worker before Election Day. Defendant lacks

knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       57.     Defendant admits the allegations in the first and second sentences of this paragraph.

Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations in this paragraph.

       58.     Defendant admits the allegations in the first and second sentences of this paragraph.

Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations in this paragraph.
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       59.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       60.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       61.     Defendant admits the allegations in this paragraph.

       62.     Defendant admits the allegations in this paragraph.

       63.     Defendant admits the allegations in the first sentence of this paragraph. Defendant

lacks knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       64.     Defendant admits that Harris County planned to have twelve drop boxes but

ultimately had only one drop box for millions of registered voters because of Governor Abbott’s

proclamation that limited the use of absentee ballot boxes to just one drop box location per county.

       65.     Defendant admits the allegations in this paragraph.

       66.     Defendant admits that at least one lawsuit sought to invalidate ballots that had

already been cast.

       67.     Defendant admits the allegations in this paragraph.

       68.     Defendant admits the allegations in this paragraph.

       69.     Defendant admits the allegations in this paragraph.

       70.     Defendant admits the allegations in this paragraph.

       71.     Defendant admits the allegations in this paragraph.

       72.     Defendant admits the allegations in this paragraph.

       73.     Defendant admits the allegations in this paragraph.

       74.     Defendant admits the allegations in this paragraph.
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       75.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       76.     Defendant admits the allegations in this paragraph.

       77.     Defendant admits the allegations in this paragraph.

       78.     Defendant admits the allegations in this paragraph.

       79.     Defendant admits the allegations in this paragraph.

       80.     Defendant admits the allegations in this paragraph.

       81.     Defendant admits the allegations in this paragraph.

       82.     Defendant admits that the Supreme Court ruling was clear. Defendant admits that

some Republican officials continued to try to disenfranchise voters in other jurisdictions.

       83.     Defendant admits the allegations in this paragraph.

       84.     Defendant admits the allegations in this paragraph.

       85.     Defendant admits the allegations in this paragraph.

       86.     Defendant admits the allegations in this paragraph.

       87.     Defendant admits the allegations in this paragraph.

       88.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       89.     Defendant admits the allegations in this paragraph.

       90.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       91.     Defendant admits the allegations in this paragraph.

       92.     Defendant admits the allegations in this paragraph.

       93.     Defendant admits the allegations in this paragraph.
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       94.     Defendant admits that S.B.7 ultimately passed the Senate and was sent to the House

for consideration.

       95.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       96.     Defendant admits the allegations in this paragraph.

       97.     Defendant admits the allegations in this paragraph.

       98.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       99.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       100.    Defendant admits the allegations in this paragraph.

       101.    Defendant admits the allegations in this paragraph.

       102.    Defendant admits the allegations in this paragraph.

       103.    Defendant admits the allegations in this paragraph.

       104.    Defendant admits the allegations in this paragraph.

       105.    Defendant admits that H.B. 6 stalled in committee. Defendant lacks knowledge or

information sufficient to form a belief as to the remaining allegations in this paragraph.

       106.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       107.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.
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       108.    Defendant admits that S.B. 7 passed out of the Elections Committee along party

lines. Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations in this paragraph.

       109.    Defendant admits the allegations in this paragraph.

       110.    Defendant admits the allegations in this paragraph.

       111.    Defendant admits that, within a week, S.B. 7 was brought to the House floor for

debate. Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations in this paragraph.

       112.    Defendant admits the first and second sentence of this paragraph. Defendant lacks

knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       113.    Defendant admits the allegations in this paragraph.

       114.    Defendant admits the allegations in this paragraph.

       115.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       116.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       117.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       118.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       119.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.
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       120.    Defendant admits the allegations in this paragraph.

       121.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       122.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       123.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       124.    Defendant admits the allegations in this paragraph.

       125.    Defendant admits the allegations in this paragraph.

       126.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       127.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       128.    Defendant admits the allegations in this paragraph.

       129.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       130.    Defendant admits the allegations in this paragraph.

       131.    Defendant admits the allegations in this paragraph.

       132.    Defendant admits the allegations in this paragraph.

       133.    Defendant admits that numerous people had to wait until past midnight to testify in

opposition to S.B.1. Defendant lacks knowledge or information sufficient to form a belief as to the

remaining allegations in this paragraph.
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       134.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       135.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       136.    Defendant admits the allegations in this paragraph.

       137.    Defendant admits the allegations in this paragraph.

       138.    Defendant admits the allegations in this paragraph.

       139.    Defendant admits the allegations in this paragraph.

       140.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       141.    Defendant admits the allegations in this paragraph.

       142.    Defendant admits that some House Democrats left Texas to deny the House the

quorum it needed to enact new bills. Defendant lacks knowledge or information sufficient to form

a belief as to the remaining allegations in this paragraph.

       143.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       144.    Defendant admits that the first special session ended without a quorum in the House

and that Governor Abbott immediately called a second special session. Defendant lacks knowledge

or information sufficient to form a belief as to the remaining allegations in this paragraph.

       145.    Defendant admits that S.B. 1 passed out of the Senate committee along a party-line

vote. Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations in this paragraph.
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       146.       Defendant admits that Senator Carol Alvarado took to the Senate floor to filibuster

S.B. 1. Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations in this paragraph.

       147.       Defendant admits the allegations in this paragraph.

       148.       Defendant admits the allegations in this paragraph.

       149.       Defendant admits that a committee hearing on S.B.1 was scheduled three days into

the session and that S.B.1 passed out of committee along party lines. Defendant admits that S.B.1

was placed on the floor for a vote the next day when the full House was in session. Defendant

lacks knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       150.       Defendant admits the allegations in this paragraph.

       151.       Defendant admits the allegations in this paragraph.

       152.       Defendant admits the allegations in this paragraph.

       153.       Defendant admits the allegations in this paragraph.

       154.       Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       155.       Defendant admits the allegations in this paragraph.

       156.       Defendant admits the allegations in this paragraph.

       157.       Defendant admits the allegations in this paragraph.

       158.       Defendant admits the allegations in the first sentence of this paragraph.

Defendant lacks knowledge or information sufficient to respond to the remaining allegations in

this paragraph.
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       159.    Defendant admits that Harris County is home to the State’s largest minority

population. Defendant lacks knowledge or information sufficient to form a belief as to the

remaining allegations in this paragraph.

       160.    Defendant admits that before dropping off a ballot in person, voters were already

required to present identification to an election official. Defendant lacks knowledge or

information sufficient to form a belief as to the remaining allegations in this paragraph.

       161.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       162.    The allegations in this paragraph consist of legal conclusions that are not subject to

admission or denial.

       163.    Defendant admits the allegations in this paragraph.

       164.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in the first sentence of this paragraph. The allegations in the second sentence of this

paragraph consist of legal conclusions that are not subject to admission or denial.

       165.    Defendant admits the allegations in this paragraph.

       166.    Defendant admits the allegations in this paragraph.

       167.    Defendant admits the allegations in the first sentence of this paragraph. Defendant

lacks knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       168.    Defendant admits the allegations in this paragraph.

       169.    Defendant admits that S.B. 1 imposes vague prohibitions against receiving

“compensation or other benefit” in exchange for certain interactions and threatens criminal
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penalties for so-called “vote harvesting.” Defendant lacks knowledge or information sufficient to

respond to the remaining allegations in this paragraph.

       170.       Defendant admits that the criminal prohibitions in S.B. 1 suppress a wide range of

completely legitimate and commonplace activities. Defendant lacks knowledge or information

sufficient to respond to the remaining allegations in this paragraph.

       171.       Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       172.       Defendant admits the allegations in this paragraph.

       173.       Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       174.       Defendant admits the allegations in this paragraph.

       175.       Defendant admits the allegations in this paragraph.

       176.       Defendant admits that 10,250 voters participated in the 24-hour voting program.

Defendant lacks knowledge or information sufficient to respond to the remaining allegations in

this paragraph.

       177.       Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       178.       Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       179.       Defendant admits the allegations in this paragraph.

       180.       Defendant admits the allegations in this paragraph.

       181.       Defendant admits the allegations in this paragraph.

       182.       Defendant admits the allegations in this paragraph.
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       183.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       184.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       185.    Defendant admits the allegations in this paragraph.

       186.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       187.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       188.    Defendant admits the allegations in this paragraph.

       189.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       190.    Defendant admits the allegations in this paragraph.

       191.    Defendant admits the allegations in this paragraph.

       192.    Defendant admits that numerous political actors have tried and failed to come up

with evidence of widespread voter fraud. Defendant lacks knowledge or information sufficient to

form a belief as to the remaining allegations in this paragraph.

       193.    Defendant admits the allegations in this paragraph.

       194.    Defendant admits the allegations in this paragraph.

       195.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       196.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.
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        197.     Defendant admits the allegations in this paragraph.

        198.     Defendant admits the allegations in this paragraph.

        199.     Defendant admits that S.B. 1 will serve to deter service-minded Texans from

volunteering as election workers and create myriad new restrictions that will burden the right to

vote for the State’s lawful voters. Defendant admits that there is no evidence of widespread fraud

in Texas elections.

        200.     Defendant agrees that officials of the State of Texas have been attempting to limit

Black and Latino political participation for centuries and that S.B. 1 is the lasts manifestation of

those efforts.

        201.     Defendant admits the allegations in this paragraph.

        202.     Defendant admits the allegations in this paragraph.

        203.     Defendant admits the first and second sentence of this paragraph. Defendant lacks

knowledge or information sufficient to respond to the remaining allegations in this paragraph.

        204.     Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

        205.     Defendant admits the allegations in this paragraph.

        206.     Defendant admits the allegations in this paragraph.

        207.     Defendant admits the allegations in the first and second sentences of this paragraph.

Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations in this paragraph.

        208.     Defendant admits the allegations in the first sentence of this paragraph. Defendant

lacks knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.
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       209.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       210.    Defendant admits the allegations in the first sentence of this paragraph. Defendant

lacks knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       211.    Defendant admits the allegations in the first sentence of this paragraph. Defendant

lacks knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       212.    Defendant admits the allegations in this paragraph.

       213.    Defendant admits the allegations in this paragraph.

       214.    Defendant admits the allegations in this paragraph.

       215.    Defendant admits that 72 percent of the prosecutions brought by The Texas

Attorney General’s Election Integrity Unit since 2015 have been against Black and Hispanic

individuals. Defendant lacks knowledge or information sufficient to form a belief as to the

remaining allegations in this paragraph.

       216.    Defendant admits the allegations in this paragraph.

       217.    Defendant admits the allegations in this paragraph.

       218.    Defendant admits the allegations in this paragraph.

       219.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       220.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.
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       221.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       222.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       223.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       224.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       225.    Defendant admits the allegations in this paragraph.

       226.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       227.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       228.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       229.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       230.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       231.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       232.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.
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       233.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       234.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       235.    Defendant admits the allegations in this paragraph.

       236.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       237.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       238.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       239.    Defendant admits the allegations in this paragraph.

       240.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       241.    Defendant admits the allegations in the first sentence of this paragraph. Defendant

lacks knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       242.    Defendant denies that out of seventeen judges currently sitting on the Texas Court

of Criminal Appeals and the Texas Supreme Court, none are Hispanic or Black. Defendant lacks

knowledge or information sufficient to form a belief as to the remaining allegations in this

paragraph.

       243.    Defendant admits the allegations in this paragraph.
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       244.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       245.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       246.    Defendant admits the allegations in the second sentence of this paragraph.

Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations in this paragraph.

       247.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       248.    Defendant admits that S.B. 1 violates Section 2 of the Voting Rights Act.

       249.    Defendant admits the allegations in this paragraph.

       250.    Defendant admits the allegations in this paragraph.

       251.    Defendant admits the allegations in this paragraph.

       252.    Defendant admits the allegations in this paragraph.

       253.    Defendant admits that Plaintiffs challenge the enumerated provisions of S.B. 1.

       254.    The allegations in this paragraph consist of legal conclusions that are not subject to

admission or denial. To the extent a further response is required, Defendant lacks knowledge or

information sufficient to form a belief as to the allegations in this paragraph.

       255.    The allegations in this paragraph consist of legal conclusions that are not subject

to admission or denial. To the extent a further response is required, Defendant lacks knowledge

or information sufficient to form a belief as to the allegations in this paragraph.

       256.    Defendant admits the allegations in this paragraph.

       257.    Defendant admits the allegations in this paragraph.
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       258.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       259.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       260.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       261.    The allegations in this paragraph consist of legal conclusions that are not subject to

admission or denial. To the extent a further response is required, Defendant lacks knowledge or

information sufficient to form a belief as to the allegations in this paragraph.

       262.    Defendant admits that S.B.1 violates the First and Fourteenth Amendment of the

United States Constitution. Defendant lacks knowledge or information sufficient to form a belief

as to the remaining allegations in this paragraph.

       263.    Defendant admits the allegations in this paragraph.

       264.    Defendant admits the allegations in this paragraph.

       265.    Defendant admits the allegations in this paragraph.

       266.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       267.    Defendant admits the allegations in this paragraph.

       268.    Defendant admits the allegations in this paragraph.

       269.    Defendant admits the allegations in this paragraph.

       270.    Defendant admits the allegations in this paragraph.

       271.    Defendant admits the allegations in this paragraph.
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       272.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       273.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       274.    Defendant admits that S.B. 1 violates the First Amendment to the United States

Constitution. Defendant lacks knowledge or information sufficient to form a belief as to the

remaining allegations in this paragraph.

       275.    Defendant admits that S.B. 1 violates the First Amendment to the United States

Constitution. Defendant lacks knowledge or information sufficient to form a belief as to the

remaining allegations in this paragraph.

       276.    Defendant admits the allegations in this paragraph.

       277.    Defendant admits the allegations in this paragraph.

       278.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       279.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       280.    Defendant admits the allegations in this paragraph.

       281.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       282.    Defendant lacks knowledge or information sufficient to form a belief as to the

allegations in this paragraph.

       283.    Defendant admits that S.B. 1 violates Section 208 of the Voting Rights Act. The

remaining allegations in this paragraph consist of legal conclusions that are not subject to
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admission or denial. To the extent a further response is required, Defendant lacks knowledge or

information sufficient to form a belief as to the remaining allegations in this paragraph.



                                                             Respectfully submitted,

                                                             CHRISTIAN D. MENEFEE
                                                             HARRIS COUNTY ATTORNEY
                                                             STATE BAR NO. 24088049
                                                             christian.menefee@cao.hctx.net
                                                             JONATHAN G.C. FOMBONNE
                                                             FIRST ASSISTANT COUNTY ATTORNEY
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                                                             ADMINISTRATOR, ISABEL
                                                             LONGORIA, IN HER INDIVIDUAL
                                                             CAPACITY
        Case 5:21-cv-00844-XR Document 65 Filed 10/25/21 Page 24 of 24




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on October 25,
2021, in compliance with the Federal Rules of Civil Procedure to all parties of record.


                                                          /s/ Sameer S. Birring
                                                          SAMEER S. BIRRING
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